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                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

In Re:
                                                                Case No. 19-01227-5
CAH ACQUISITION COMPANY 16, LLC,
d/b/a Haskell County Community Hospital,                             Chapter 11

               Debtor.


              DEBTOR’S EMERGENCY MOTION FOR AND CONSENT TO
                   APPOINTMENT OF CHAPTER 11 TRUSTEE

         The Debtor, by and through its proposed counsel of record, requests that the Court

appoint Thomas W. Waldrep, Jr. as the Chapter 11 trustee in this case, pursuant to the provisions

of 11 U.S.C. § 1104(a)(2). In support of this motion, the Debtor states as follows:

         1.    The Debtor filed its voluntary Chapter 11 petition on March 17, 2019.

         2.    The Debtor owns and operates a critical access hospital in Stigler, Oklahoma.

         3.    Pending in this Court is the involuntary Chapter 7 bankruptcy case of the Debtor’s

related and affiliated entity, CAH Acquisition Company # 1, LLC, d/b/a Washington County

Hospital (case no. 19-00730-5-JNC), filed on February 19, 2019 and the voluntary Chapter 11

case of CAH Acquisition Company #3, LLC, d/b/a Horton Community Hospital (case no. 19-

01180-5-JNC), filed on March 14, 2019. Mr. Waldrep has been appoint as the trustee in both

cases and continues to serve in that capacity.

         4.    The Debtor is one of twelve (12) hospitals (including Washington County

Hospital) (collectively, the “CAH Hospitals”) with common ownership and integrated

management through a related entity, iHealthcare, Inc. Each of the CAH Hospitals is owned by

Health Acquisition Company, LLC (80% interest) and HMC/CAH Consolidated, Inc. (20%
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interest). Mr. Waldrep, as interim trustee in the Washington County Hospital case, continues to

utilize iHealthcare, Inc. in the management of the hospital.

       5.      Several of the CAH Hospitals are currently the subject of state court receiverships

in other states in which receivers have been appointed at the request of creditors or other parties

in interest. As a result of the appointment of the receivers, significant amounts of cash and

anticipated revenues for the CAH Hospitals are unavailable to fund the ongoing operations of the

CAH Hospitals.

       6.      In light of the deteriorating financial and operational status of the Debtor (and the

other CAH Hospitals), the Debtor has determined that it is the best interests of the Debtor, its

creditors, and other parties in interest (including patients) for Mr. Waldrep to also be appointed

as the Chapter 11 trustee in the Debtor’s case, subject to the Court’s approval. Therefore, the

Debtor requests and consents to the immediate appointment of Thomas W. Waldrep, Jr. as

Chapter 11 trustee in this case, pursuant to § 1104(a)(2) of the Bankruptcy Code.

       7.      Counsel for the Debtor has conferred with Mr. Waldrep about his appointment as

the trustee in this case, and Mr. Waldrep has agreed to such appointment.

       WHEREFORE, the Debtor consents to and requests that the Court appoint Thomas W.

Waldrep, Jr. as the Chapter 11 trustee in this case on an emergency, ex parte basis pending notice

and hearing to the extent required by the Court pursuant to § 1104(a) of the Bankruptcy Code.
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Dated: March _17, 2019                  /s/ Rayford K. Adams III
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                                       Winston-Salem, North Carolina 27103
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                      UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                            GREENVILLE DIVISION

In Re:
                                                            Case No. 19-01227-5
CAH ACQUISITION COMPANY # 4, LLC,
d/b/a Haskell County Community Hospital,                        Chapter 11

              Debtor.


                              CERTIFICATE OF SERVICE

        I hereby certify that the foregoing DEBTOR’S EMERGENCY MOTION FOR AND
CONSENT TO APPOINTMENT OF CHAPTER 11 TRUSTEE was filed electronically in
accordance with the local rules and was served upon those listed in Exhibit A on the date set
forth by first class mail or by electronic service through CM/ECF.

Dated: March 17, 2019                      /s/ Rayford K. Adams III
                                          Rayford K. Adams III (NC Bar No. 8622)
                                          SPILMAN THOMAS & BATTLE, PLLC
                                          110 Oakwood Drive, Suite 500
                                          Winston-Salem, North Carolina 27103
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                               EXHIBIT A
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   VIA CM/ECF / E-MAIL
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       Raleigh, NC 27601
                                               Raleigh, NC 27612              Raleigh, NC 27602-0629
     Bankruptcy Administrator
                                             Counsel for Petitioning         Counsel for NC DHHS/DHB
                                                    Creditors
      Thomas W. Waldrep, Jr.
            Waldrep LLP
   101 S Stratford Road, Suite 210
     Winston-Salem, NC 27104
               Trustee

   VIA U.S. MAIL

 CAH Acquisition Company 16, LLC
                                             Airgas Mid South, Inc.           Alere North America, Inc.
  c/o Corporation Service Company,
                                                PO Box 676015                      PO Box 846153
        251 Little Falls Drive
                                               Dallas, TX 75267                  Boston, MA 02284
       Wilmington, DE 19808



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     101 Washington Street East                 PO Box 5001                        PO Box 41601
       Charleston, WV 25301                 Carol Stream, IL 60197             Philadelphia, PA 19101



                                          Farnam Street Financial, Inc.         First Financial Corp.
      Cardinal Health 411, Inc.
                                              240 Pondview Plaza                   PO Box 87618
          PO Box 847384
                                              5854 Opus Parkway                       Dept 2067
         Dallas, TX 75284
                                              Hopkins, MN 55343                  Chicago, IL 60680


    Gemino Healthcare Finance
                                               iHealthcare, Inc.                  Keith Plummer
      1 International Plaza
                                         3901 NW 28th Street - 2nd Floor     10150 Bullett Prairie Road
            Suite 220
                                               Miami, FL 33142                Tishomingo, OK 73460
     Philadelphia, PA 19113


                                                                           Missouri Network Alliance, LLC
      McKesson Corporation
                                                  M&T Bank                      2005 West Broadway
    1950 Stemmons Hwy #5010
                                                                               Building A - Suite 215
        Dallas, TX 75207
                                                                                Columbia, MO 65203
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                                                                     Rural Community Hospitals
                                             Reboot Inc.
      Quality Systems, Inc.                                                 of America
                                            PO Box 80019
        PO Box 511449                                                  Attn: Steven F. White
                                               #86038
     Los Angeles, CA 90051                                               700 Chappell Road
                                        Indianapolis, IN 46280
                                                                       Charleston, WV 25304


   Shred Medical Services, Inc.     Siemens Healthcare Diagnostics     Sysmex America, Inc.
          PO Box 330                       PO Box 121102               39923 Treasury Center
    Cottage Grove, WI 53527               Dallas, TX 75312               Chicago, IL 60694
